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                           EXHIBIT C
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  INTELLECTUAL VENTURES I LLC,                        §
                                                      §
                  Plaintiff,                          §
                                                      §
  v.                                                  §   CIVIL ACTION NO. 2:17-CV-00577-JRG
                                                      §
  T MOBILE USA, INC., T-MOBILE US,                    §
  INC., ERICSSON INC.,                                §
  TELEFONAKTIEBOLAGET LM                              §
  ERICSSON,                                           §
                                                      §
                  Defendants.                         §

                                ORDER ON MOTIONS IN LIMINE

         Before the Court are the motions in limine by Plaintiff Intellectual Ventures I LLC (“IV”

 or “Plaintiff”) (Dkt. No. 267) and Defendants T Mobile USA, Inc., T-Mobile US, Inc., Ericsson

 Inc., and Telefonaktiebolaget LM Ericsson (collectively, “Defendants”) (Dkt. No. 266). The

 Parties further filed Joint Motions in Limine. (Dkt. Nos. 285, 286.) The Court held a pretrial

 conference on January 3, 2019 and heard oral argument on said motions. This Order summarizes

 and memorializes the Court’s rulings as announced into the record. It is ORDERED that the

 Parties, their witnesses, and counsel shall not raise, discuss, or argue the following before the

 venire panel or the jury without prior leave of the Court.

                                 AGREED MOTIONS IN LIMINE

         The following motions are GRANTED-BY-AGREEMENT OF THE PARTIES:

         Agreed MIL No. 1:       No evidence, argument, or suggestion that any alleged conception

 date is earlier than the dates listed in IV’s interrogatory.

         Agreed MIL No. 2:       No evidence, argument, or suggestion on the Court’s claim

 construction, including the parties’ positions, the Court’s rationale, anything inconsistent with the
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 Court’s construction, or any other aspect relating to claim construction other than the constructions

 themselves.

         Agreed MIL No. 3:          No evidence, argument, or suggestion relating to experts’ prior

 affiliations or retention by the law firms involved in this case, or relating to prior court rulings or

 jury verdicts involving experts’ opinions.

         Agreed MIL No. 4:          No evidence, argument, or suggestion that Defendants copied or

 stole anything related to the Patents-in-Suit.

         Agreed MIL No. 5:          No evidence, argument, or suggestion regarding IV’s licenses with

 others in the industry as evidence that any of the licensees or Defendants in this case infringe.

         Agreed MIL No. 6:          No evidence, argument, or suggestion regarding any comparison of

 Ericsson products to any other infrastructure company’s products, or any comparison of Ericsson’s

 product to anything other than the asserted claims to prove infringement.

         Agreed MIL No. 7:          No evidence, argument, or suggestion that Malibu’s commercial

 failure was caused in whole or in part by Ericsson or T-Mobile.

         Agreed MIL No. 8:          No evidence, argument, or suggestion of Ericsson sales to third

 parties other than T-Mobile (such as Sprint).

         Agreed MIL No. 9:          If the Court grants Defendants’ pending motion on IV’s willfulness

 claim, no evidence argument, or suggestion related to the willfulness claim.

         Agreed MIL No. 10: No evidence, argument, or suggestion that any third-party licensee

 has taken a license to only one or all of the particular patents at issue in this case, as opposed to a

 license to the entire portfolio.

         Agreed MIL No. 11: Exclude pejorative references to IV or NPE business model (e.g.,

 “patent troll,” “nonpracticing entity,” “patent assertion entity”).



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                         PLAINTIFF’S OPPOSED MOTIONS IN LIMINE

         IV MIL No. 1: Exclude pejorative references to IV or NPE business model (e.g., ‘patent

 troll,’ ‘non-practicing entity,’ ‘patent assertion entity,’ ‘a company that doesn’t make anything,’

 or ‘a company that doesn’t sell anything’)

         This motion in limine is WITHDRAWN by Intellectual Ventures.

         IV MIL No. 2: Exclude evidence relating to Defendants’ IPRs filed against the patents-in-

 suit.

         This motion in limine is GRANTED. Any Party that wishes to talk about the PTAB or IPR

 proceedings in any way must first approach the bench. That certain prior art was not before the

 PTO at the time the patents were issued and is not in the cited references is outside the scope of

 this limine Order.

         IV MIL No. 3: Exclude non-infringement arguments or testimony based on comparing the

 accused products to Malibu Networks’ product(s) and/or prototype system(s).

         This motion in limine is GRANTED. The Court clarifies that Defendants will be permitted

 to have a typical background interview with the inventor and that the inventor may testify as to his

 understanding of any plain and ordinary meaning terms that are relevant to his other testimony.

         IV MIL No. 4: Exclude evidence or argument relating to litigation between IV and

 Defendants in the District of Delaware.

         This motion in limine is GRANTED.

         IV MIL No. 5: Exclude evidence or argument that IV did not offer Defendants a settlement

 or license prior to the institution of suit.

         This motion in limine is GRANTED. The Court accepts the Parties’ representations that

 IV MIL No. 5 is linked to Defendants MIL No. 5.



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        IV MIL No. 6: Exclude evidence relating to uncharted prior art to prove invalidity by

 demonstrating that uncharted prior art discloses or suggests elements of the asserted claims,

 including introducing uncharted prior art as an exhibit and displaying uncharted prior art as a

 demonstrative.

        This motion in limine is GRANTED. The Court clarifies that the Parties are permitted to

 use uncharted references to demonstrate the state of the art and what a person of ordinary skill

 would have known at the time of the invention; however, more than a passing reference may result

 in jury confusion and will violate this motion in limine.

        IV MIL No. 7: Exclude attempts to prove public availability of alleged prior art sources

 based on collateral citations in third-party sources outside the scope of Defendants’ invalidity

 contentions and/or Dr. Hall-Ellis’s declaration.

        This motion in limine is WITHDRAWN by Intellectual Ventures.

        IV MIL No. 8: Exclude reference to the fact that any patent, claim, theory, or accused

 product or functionality has been dropped or dismissed from the case or any prior case.

        This motion in limine is GRANTED.

                      DEFENDANTS’ OPPOSED MOTIONS IN LIMINE

        Defendants MIL No. 1:          No evidence or argument of secondary considerations of

 non-obviousness, because no nexus was alleged or proven.

        This motion in limine is DENIED.

        Defendants MIL No. 2:          No evidence, argument, or suggestion regarding any

 government or regulatory investigations into Ericsson or T-Mobile.

        This motion in limine is GRANTED-AS-MODIFIED. Defendants MIL No. 2 will be

 applied to all Parties. Further, Dr. Becker will be permitted to testify as to any argument or



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 suggestion contained in his expert report, which was not challenged under Daubert,

 notwithstanding this motion in limine ruling.

         Defendants MIL No. 3:            No evidence, argument, or suggestion regarding Ericsson or

 T-Mobile’s total company revenue, profit, market capitalization, net worth, or other similar

 revenue claims.

         This motion in limine is GRANTED-AS-MODIFIED. The Court holds that this motion

 in limine will be applied on a mutual basis as to all Parties.

         Defendants MIL No. 4:            No improper argument regarding the burden of proof or

 analogizing the burdens of proof in this case to standards used in other areas of the law that may

 be prejudicial (e.g., family law, personal injury, criminal law, or fraud).

         This motion in limine is WITHDRAWN by Defendants.

         Defendants MIL No. 5:            No evidence, argument, or suggestion that Malibu

 Networks, Inc. (“Malibu”) or IV ever communicated with Ericsson or T-Mobile regarding the

 Patents-in-Suit prior to filing of the suit.

         This motion in limine is GRANTED. The Court accepts the Parties’ representations that

 IV MIL No. 5 is linked to Defendants MIL No. 5.

         Defendants MIL No. 6:            No evidence, argument, or suggestion that any third-party

 licensee has taken a license to these particular patents as opposed to a license to the entire portfolio.

         This motion in limine is WITHDRAWN by Defendants.

         Defendants MIL No. 7:            No evidence, argument, or suggestion regarding an

 affirmative reference to any matters or communications as to which the offering party asserted

 privilege, including, but not limited to, any references to any pre-suit investigation performed by

 IV and any evidence over which IV has claimed privilege.



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        This motion in limine is DENIED.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 8th day of January, 2019.




                                                 ____________________________________
                                                 RODNEY GILSTRAP
                                                 UNITED STATES DISTRICT JUDGE




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